    Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 1 of 29 PageID #:256




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 John Scatchell, Sr., John Scatchell, Jr.       )
                                                )
               Plaintiffs,                      )              Case No.: 2018-CV-03989
                                                )
 v.                                             )              Judge Charles R. Norgle, Sr.
                                                )
 Village of Melrose Park, an Illinois Municipal )              Magistrate Judge Michael T.
 Corporation; Ronald M. Serpico; Sam Pitassi; )                Mason
 Michael Castellan; Steven Rogowski; Board )
 Of Fire and Police Commissioners of Melrose )
 Park, Illinois,                                )
                                                )

              Defendants.
                                                               Jury Trial Demanded


     AGREED MOTION FOR ENTRY OF AGREED CONFIDENTIALITY ORDER

       NOW COMES, Plaintiff, JOHN SCATCHELL, SR., and putative Plaintiff, JOHN

SCATCHELL, JR., by and through their attorneys, Gia Scatchell, Esq., Law Offices of Giana

Scatchell, and Cass T. Casper, Esq., and moves this Honorable Court for the entry of an Agreed

Confidentiality Order, and states as follows:

   1. The parties are currently in the process of exchanging documents pursuant to initial

       disclosures.

   2. Defendant Village of Melrose Park, Illinois has requested the entry of a confidentiality

       order regarding such documents, and all parties have exchanged and agreed to a proposed

       confidentiality order.

   3. Pursuant to this Court’s Standing Order for Proposed Orders, Plaintiff is filing the Motion

       and requesting that the Court enter the proposed Order attached as Exhibit A.
    Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 2 of 29 PageID #:257




   4. Plaintiff has included a copy of the proposed Order with tracked changed showing

       modifications from the Court’s model order, attached as Exhibit B.

   5. Counsel has contemporaneously emailed the proposed order in a format compatible with

       Microsoft Word to: Eric_Fulbright@ilnd.uscourts.gov, and copied all counsel on such

       email.

   6. All parties are in agreement with the relief requested herein and the form of the Agreed

       Confidentiality Order.

       WHEREFORE, for the above stated reasons, Plaintiff SCATCHELL, respectfully requests

that this Court grant his Agreed Motion for Entry of Agreed Confidentiality Order in the form

attached hereto as Exhibit A and for such other relief the Court finds appropriate.


Respectfully submitted,

By: /s/ Gianna R. Scatchell

Gianna R. Scatchell
Gianna R. Scatchell ARDC No. 6300771
LAW OFFICES OF GIANNA SCATCHELL
Attorney for Plaintiff John Scatchell, Sr.
360 W. Hubbard Street, 1404
Chicago, Illinois 60654
(312) 248-3303
gia@lawfirm.gs

Respectfully submitted,

By: /s/ Cass T. Casper
Cass T. Casper
Cass T. Casper, ARDC No. 6303022
TALON LAW, LLC
Attorney for Plaintiff John Scatchell, Jr.
79 West Monroe Street, Suite 1213
Chicago, Illinois 60603
(312) 351-2478
ctc@talonlaw.com



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   Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 3 of 29 PageID #:258




                               CERTIFICATE OF SERVICE

   The undersigned, an attorney, hereby certifies that the foregoing document and all attachments
and supplements thereto were served upon counsel for Defendants noted below via this Court’s
CM/ECF filing system, and that such counsels are registered e-filers.

Jeffrey Fowler        jfowler@lanermuchin.com
K. Austin Zimmer      zimmer@dlglawgroup.com
Cynthia Grandfield    grandfield@dlglawgroup.com
Timothy Woerner       woerner@dlglawgroup.com
Michael Bersani       mbersani@hcbattorneys.com


                                             s/Gianna Scatchell




                                               3
     Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 4 of 29 PageID #:259
                                                                          EXHIBIT A


                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


John Scatchell, Sr.,                                )
                                                    )
               Plaintiff,                           )              Case No.: 2018-CV-03989
                                                    )
v.                                                  )              Judge Charles R. Norgle, Sr.
                                                    )
Village of Melrose Park, an Illinois Municipal      )              Magistrate Judge Michael T.
Corporation; Ronald M. Serpico; Sam C. Pitassi;     )              Mason
Michael Castellan; and Steven Rogowski,             )
                                                    )
               Defendants.                          )
                                                    )              Jury Trial Demanded
_________________________________________________________________________

                                 Agreed Confidentiality Order

            The parties to this Agreed Confidentiality Order have agreed to the terms of this Order;

and, the Court having determined that the terms set forth are appropriate to protect the interests

of the parties, the public, and the Court; accordingly, it is ORDERED:

       1.          Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

information derived directly therefrom (hereinafter collectively “documents”), shall be subject

to this Order concerning Confidential Information as defined below. This Order is subject to the

Local Rules of this District and the Federal Rules of Civil Procedure on matters of procedure

and calculation of time periods.

       2.          Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER”

by the producing party that falls within one or more of the following categories: (a) information

prohibited from disclosure by state or federal statute; financial information that the party has

maintained as confidential; (b) medical information concerning any individual; (c) personal

                                                                                                       1
    Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 5 of 29 PageID #:260
                                                                         EXHIBIT A


identity information; (d) income tax returns (including attached schedules and forms), W-2

forms and 1099 forms; (e) personnel or employment records of a person who is not a party to

the case; or, (f) personnel or employment records of any person who is a party to the case.

Counsel for any defendant shall have the right to redact any personal information involving any

party or their household, including but not limited to home addresses, telephone numbers, social

security numbers, personal email addresses, driver’s license numbers, birthdays, and medical

and mental health records and information. Information or documents that are available to the

public may not be designated as Confidential Information.

      3.       Designation.

               (a)     A party may designate a document as Confidential Information for

protection under this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” on the document and on all copies in a manner that will not interfere

with the legibility of the document. As used in this Order, “copies” includes electronic images,

duplicates, extracts, summaries or descriptions that contain the Confidential Information. The

marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be applied prior to

or at the time of the documents are produced or disclosed. Applying the marking

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a document does not mean that

the document has any status or protection by statute or otherwise except to the extent and for the

purposes of this Order. Any copies that are made of any documents marked “CONFIDENTIAL

- SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices, electronic

databases or lists of documents that do not contain substantial portions or images of the text of

marked documents and do not otherwise disclose the substance of the Confidential Information

are not required to be marked.




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        Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 6 of 29 PageID #:261
                                                                             EXHIBIT A


                   (b)      The designation of a document as Confidential Information is a

    certification by an attorney or a party appearing pro se that the document contains

    Confidential Information as defined in this order.1

          4.       Depositions.

           Deposition testimony is protected by this Order only if designated as “CONFIDENTIAL

    – SUBJECT TO PROTECTIVE ORDER” on the record at the time the testimony is taken. Such

    designation shall be specific as to the portions that contain Confidential Information. Deposition

    testimony so designated shall be treated as Confidential Information protected by this Order until

    fourteen days after delivery of the transcript by the court reporter to any party or the witness.

    Within fourteen days after delivery of the transcript, a designating party may serve a Notice of

    Designation to all parties of record identifying the specific portions of the transcript that are

    designated Confidential Information, and thereafter those portions identified in the Notice of

    Designation shall be protected under the terms of this Order. The failure to serve a timely Notice

    of Designation waives any designation of deposition testimony as Confidential Information that

    was made on the record of the deposition, unless otherwise ordered by the Court.

          5.       Protection of Confidential Material.

                   (a)      General Protections. Confidential Information shall not be used or

    disclosed by the parties, counsel for the parties or any other persons identified in subparagraph

    (b) for any purpose whatsoever other than in this litigation, including any appeal thereof.

                   (b)      Limited Third-Party Disclosures. The parties and counsel for the parties



1
 An attorney who reviews the documents and designates them as CONFIDENTIAL - SUBJECT TO PROTECTIVE
ORDER must be admitted to the Bar of at least one state but need not be admitted to practice in the Northern District
of Illinois unless the lawyer is appearing generally in the case on behalf of a party. By designating documents
confidential pursuant to this Order, counsel submits to the jurisdiction and sanctions of this Court on the subject
matter of the designation.

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    Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 7 of 29 PageID #:262
                                                                         EXHIBIT A


shall not disclose or permit the disclosure of any Confidential Information to any third person or

entity except as set forth in subparagraphs (1)-(9). Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information:

               (1)    Counsel. Counsel for the parties and employees of counsel who have
                      responsibility for the action;

               (2)    Parties. Individual parties and employees of a party but only to the extent
                      counsel determines in good faith that the employee’s assistance is
                      reasonably necessary to the conduct of the litigation
                      in which the information is disclosed;

               (3)    The Court and its personnel;

               (4)    Court Reporters and Recorders. Court reporters and recorders engaged
                      for depositions;

               (5)    Contractors. Those persons specifically engaged for the limited purpose
                      of making copies of documents or organizing or processing documents,
                      including outside vendors hired to process electronically stored
                      documents;

               (6)    Consultants and Experts. Consultants, investigators, or experts
                      employed by the parties or counsel for the parties to assist in the
                      preparation and trial of this action but only after such persons have
                      completed the certification contained in Attachment A, Acknowledgment
                      of Understanding and Agreement to Be Bound;

               (7)    Witnesses at depositions. During their depositions, witnesses in this
                      action to whom disclosure is reasonably necessary. Witnesses shall not
                      retain a copy of documents containing Confidential Information, except
                      witnesses may receive a copy of all exhibits marked at their depositions in
                      connection with review of the transcripts. Pages of transcribed deposition
                      testimony or exhibits to depositions that are designated as Confidential
                      Information pursuant to the process set out in this Order must be separately
                      bound by the court reporter and may not be disclosed to anyone except as
                      permitted under this Order.

               (8)    Author or recipient. The author or recipient of the document (not
                      including a person who received the document in the course of litigation);
                      and

               (9)    Others by Consent. Other persons only by written consent of the
                      producing party or upon order of the Court and on such conditions as
                      may be agreed or ordered.

                                                                                                   4
    Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 8 of 29 PageID #:263
                                                                         EXHIBIT A


      (c)       Control of Documents. Counsel for the parties shall make reasonable efforts to

prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel shall

maintain the originals of the forms signed by persons acknowledging their obligations under this

Order for a period of three years after the termination of the case.

      6.        Inadvertent Failure to Designate.          An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any protection for

deposition testimony. If a party designates a document as Confidential Information after it was

initially produced, the receiving party, on notification of the designation, must make a

reasonable effort to assure that the document is treated in accordance with the provisions of this

Order.     No party shall be found to have violated this Order for failing to maintain the

confidentiality of material during a time when that material has not been designated Confidential

Information, even where the failure to so designate was inadvertent and where the material is

subsequently designated Confidential Information.

      7.        Filing of Confidential Information. This Order does not, by itself, authorize

the filing of any document under seal. Any party wishing to file a document designated as

Confidential Information in connection with a motion, brief or other submission to the Court

must comply with LR 26.2.

      8.        No Greater Protection of Specific Documents. Except on privilege grounds

not addressed by this Order, no party may withhold information from discovery on the ground

that it requires protection greater than that afforded by this Order unless the party moves for an

order providing such special protection.

      9.        Challenges by a Party to Designation as Confidential Information. The

                                                                                                     5
    Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 9 of 29 PageID #:264
                                                                         EXHIBIT A


designation of any material or document as Confidential Information is subject to challenge by

any party. The following procedure shall apply to any such challenge.

               (a)     Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis

for its belief that the confidentiality designation was not proper and must give the designating

party an opportunity to review the designated material, to reconsider the designation, and, if no

change in designation is offered, to explain the basis for the designation. The designating party

must respond to the challenge within five (5) business days.

               (b)     Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information under the terms of this Order.

      10.      Action by the Court.         Applications to the Court for an order relating to

materials or documents designated Confidential Information shall be by motion. Nothing in this

Order or any action or agreement of a party under this Order limits the Court’s power to make

orders concerning the disclosure of documents produced in discovery or at trial.

      11.      Use of Confidential Documents or Information at Trial. Nothing in this

Order shall be construed to affect the use of any document, material, or information at any trial

or hearing. A party that intends to present or that anticipates that another party may present

Confidential Information at a hearing or trial shall bring that issue to the Court’s and parties’

                                                                                                     6
   Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 10 of 29 PageID #:265
                                                                        EXHIBIT A


attention by motion or in a pretrial memorandum without disclosing the Confidential

Information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

      12.      Confidential Information Subpoenaed or Ordered Produced in Other
Litigation.

               (a)     If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,

immediately and in no event more than three court days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.

               (b)     The receiving party also must immediately inform in writing the party

who caused the subpoena or order to issue in the other litigation that some or all of the material

covered by the subpoena or order is the subject of this Order. In addition, the receiving party

must deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.

               (c)     The purpose of imposing these duties is to alert the interested persons to

the existence of this Order and to afford the designating party in this case an opportunity to try

to protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its

Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this action to disobey a lawful directive from another court. The

obligations set forth in this paragraph remain in effect while the party has in its possession,

custody or control Confidential Information by the other party to this case.

       13.     Challenges by Members of the Public to Sealing Orders.                 A party or

interested member of the public has a right to challenge the sealing of particular documents
                                                                                                     7
   Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 11 of 29 PageID #:266
                                                                        EXHIBIT A


that have been filed under seal, and the party asserting confidentiality will have the burden of

demonstrating the propriety of filing under seal.

      14.      Obligations on Conclusion of Litigation.

               (a)     Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further

appeal.

               (b)     Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information

and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” under this

Order, including copies as defined in ¶ 3(a), shall be returned to the producing party unless: (1)

the document has been offered into evidence or filed without restriction as to disclosure; (2) the

parties agree to destruction to the extent practicable in lieu of return; or (3) as to documents

bearing the notations, summations, or other mental impressions of the receiving party, that party

elects to destroy the documents and certifies to the producing party that it has done so.

               (c)     Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

attorney work product, including an index that refers or relates to designated Confidential

Information so long as that work product does not duplicate verbatim substantial portions of

Confidential Information, and (2) one complete set of all documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to be

protected under this Order. An attorney may use his or her work product in subsequent litigation,

provided that its use does not disclose or use Confidential Information.

               (d)     Deletion of Documents filed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of the

                                                                                                   8
   Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 12 of 29 PageID #:267
                                                                        EXHIBIT A


Court.

         15.   Order Subject to Modification.            This Order shall be subject to

modification by the Court on its own initiative or on motion of a party or any other person

with standing concerning the subject matter.

         16.   No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any

document or material designated Confidential Information by counsel or the parties is

entitled to protection under Rule 26(c) of the Federal Rules of Civil Procedure or

otherwise until such time as the Court may rule on a specific document or issue.

         17.   Persons Bound. This Order shall take effect when entered and shall be

binding upon all counsel of record and their law firms, the parties, and persons made

subject to this Order by its terms.




                                                                                               9
       Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 13 of 29 PageID #:268
                                                                            EXHIBIT A


So Ordered.



    Dated:

                                             U.S. District Judge
                                             U.S. Magistrate Judge



    WE SO MOVE                                      WE SO MOVE
    and agree to abide by the                       and agree to abide by the
    terms of this Order                             terms of this Order


Respectfully submitted,

          /s Cass T. Casper
          /s Gianna Scatchell                      /s Michael D. Bersani
    _____________________________________
    Cass T. Casper, Esq.                          Michael D. Bersani
    Cass T. Casper, Esq., Plaintiffs’ Counsel2    Hervas, Condon & Bersani, P.C.
    TALON LAW, LLC                                333 Pierce Road, Suite 195
    79 West Monroe Street, Suite 1213             Itasca, IL 60143
    Chicago, Illinois 60603                       (630) 860-4343
    Phone: (312) 351-2478 | Fax: (312) 276-4930   mbersani@hcbattorneys.com
    Email: ctc@talonlaw.com                       ATTORNEY FOR DEFENDANTS
                                                  PITASSI, CASTELLAN and ROGOWSKI
    Gianna R. Scatchell ARDC No. 6300771
    LAW OFFICES OF GIANNA SCATCHELL               /s Jeffrey S. Fowler
    360 W. Hubbard Street, 1404
    Chicago, Illinois 60654                       Jeffrey S. Fowler
    P: (312) 248-3303                             Laner Muchin, Ltd.
    E: gia@lawfirm.gs                             515 North State Street, Suite 2800
                                                  Chicago, Illinois 60654
    ATTORNEYS FOR PLAINTIFFS                      O: (312) 467-9800
                                                  E: Jfowler@lanermuchin.com
                                                  ATTORNEY FOR VILLAGE OF
                                                  MELROSE PARK, ILLINOIS

                                                  /s K. Austin Zimmer
                                                  /s Cynthia Granfield
                                                  /s Timothy Woerner
                                                  K. Austin Zimmer
2
    Appearance pending.

                                                                                       10
  Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 14 of 29 PageID #:269
                                                                       EXHIBIT A


                                        Cynthia Grandfield
                                        Timothy Woerner
                                        1441 S. Harlem Avenue
                                        Berwyn, Illinois 60402
                                        (708) 222-7000
                                        E: zimmer@dlglawgroup.com
                                        E: grandfield@dlglawgroup.com
                                        E: woerner@dlglawgroup.com
                                        ATTORNEYS FOR DEFENDANT
                                        SERPICO


Dated:                                    Dated:




                                                                             11
     Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 15 of 29 PageID #:270
                                                                          EXHIBIT A



                                        ATTACHMENT A

                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


John Scatchell, Sr.,                              )
                                                  )
             Plaintiff,                           )               Case No.: 2018-CV-03989
                                                  )
v.                                                )               Judge Charles R. Norgle, Sr.
                                                  )
Village of Melrose Park, an Illinois Municipal    )               Magistrate Judge Michael T.
Corporation; Ronald M. Serpico; Sam C. Pitassi;   )               Mason
Michael Castellan; and Steven Rogowski,           )
                                                  )
             Defendants.                          )
                                                  )               Jury Trial Demanded
_________________________________________________________________________

                                   ACKNOWLEDGMENT
                                         AND
                                 AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Confidentiality Order dated

_                                                      in the above-captioned action and attached

hereto, understands the terms thereof, and agrees to be bound by its terms. The undersigned

submits to the jurisdiction of the United States District Court for the Northern District of Illinois

in matters relating to the Confidentiality Order and understands that the terms of the Confidentiality

Order obligate him/her to use materials designated as Confidential Information in accordance with

the Order solely for the purposes of the above-captioned action, and not to disclose any such

Confidential Information to any other person, firm or concern.
   Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 16 of 29 PageID #:271
                                                                        EXHIBIT A



        The undersigned acknowledges that violation of the Confidentiality Order may result in

        penalties for contempt of court.



Name:

Job Title:

Employer:

Business Address:




Date:

                                       Signature
                Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 17 of 29 PageID #:272
                                                                                      EXHIBIT B




                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION


    John Scatchell, Sr.,                                   )
                                                           )
                   Plaintiff,                              )                 Case No.: 2018-CV-03989
                                                           )
    v.                                                     )                 Judge Charles R. Norgle, Sr.
                                                           )
    Village of Melrose Park, an Illinois Municipal         )                 Magistrate Judge Michael T.
    Corporation; Ronald M. Serpico; Sam C. Pitassi;        )                 Mason
    Michael Castellan; and Steven Rogowski,                )
                                                           )
                   Defendants.                             )
                                                           )                 Jury Trial Demanded
_________________________________________________________________________

                                     [Agreed]1 Confidentiality Order

                The parties to this Agreed Confidentiality Order have agreed to the terms of this Order;

    and, the Court having determined that the terms set forth are appropriate to protect the interests

    of the parties, the public, and the Court; accordingly, it is ORDERED:

           1.          Scope. All materials produced or adduced in the course of discovery, including

    initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

    information derived directly therefrom (hereinafter collectively “documents”), shall be subject

    to this Order concerning Confidential Information as defined below. This Order is subject to the

    Local Rules of this District and the Federal Rules of Civil Procedure on matters of procedure

    and calculation of time periods.

           2.          Confidential Information. As used in this Order, “Confidential Information”



1
  Counsel should include or delete language in brackets as necessary to the specific case. Any other changes to this       Formatted: Font: Times New Roman, Strikethrough
model order must be shown by redlining that indicates both deletions and additions to the model text. Counsel may
also modify this model order as appropriate for the circumstances of the case. This model order is for the
convenience of the parties and the court and not intended to create a presumption in favor of the provisions in this
model order and against alternative language proposed by the parties. The court will make the final decision on the
terms of any order notwithstanding the agreement of the parties.

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               Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 18 of 29 PageID #:273
                                                                                     EXHIBIT B




    means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER”

    by the producing party that falls within one or more of the following categories: (a) information

    prohibited from disclosure by state or federal statute; (b) information that reveals trade secrets;                   Formatted: Strikethrough


    (c) research, technical, commercial or financial information that the party has maintained as                         Formatted: Strikethrough


    confidential; (d) medical information concerning any individual; (e) personal identity

    information; (f) income tax returns (including attached schedules and forms), W-2 forms and

    1099 forms; or (g) personnel or employment records of a person who is not a party to the case;2

    or, (h) personnel or employment records of any person who is a party to the case. . Counsel for

    any defendant shall have the right to redact any personal information involving any party or their

    household, including but not limited to home addresses, telephone numbers, social security

    numbers, personal email addresses, driver’s license numbers, birthdays, and medical and mental

    health records and information. Information or documents that are available to the public may

    not be designated as Confidential Information.

          3.       Designation.

                   (a)      A party may designate a document as Confidential Information for

    protection under this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT TO

    PROTECTIVE ORDER” on the document and on all copies in a manner that will not interfere

    with the legibility of the document. As used in this Order, “copies” includes electronic images,

    duplicates, extracts, summaries or descriptions that contain the Confidential Information. The

    marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be applied prior to

    or at the time of the documents are produced or disclosed. Applying the marking

    “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a document does not mean that


2
 If protection is sought for any other category of information, the additional category shall be described in paragraph   Formatted: Font: Times New Roman, Strikethrough
2 with the additional language redlined to show the change in the proposed Order.

                                                                                                                     2
               Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 19 of 29 PageID #:274
                                                                                     EXHIBIT B




    the document has any status or protection by statute or otherwise except to the extent and for the

    purposes of this Order. Any copies that are made of any documents marked “CONFIDENTIAL

    - SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices, electronic

    databases or lists of documents that do not contain substantial portions or images of the text of

    marked documents and do not otherwise disclose the substance of the Confidential Information

    are not required to be marked.

                   (b)      The designation of a document as Confidential Information is a

    certification by an attorney or a party appearing pro se that the document contains

    Confidential Information as defined in this order.3

          4.       Depositions.4

           Deposition testimony is protected by this Order only if designated as “CONFIDENTIAL

    – SUBJECT TO PROTECTIVE ORDER” on the record at the time the testimony is taken. Such

    designation shall be specific as to the portions that contain Confidential Information. Deposition

    testimony so designated shall be treated as Confidential Information protected by this Order until

    fourteen days after delivery of the transcript by the court reporter to any party or the witness.

    Within fourteen days after delivery of the transcript, a designating party may serve a Notice of

    Designation to all parties of record identifying the specific portions of the transcript that are

    designated Confidential Information, and thereafter those portions identified in the Notice of

    Designation shall be protected under the terms of this Order. The failure to serve a timely Notice



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 An attorney who reviews the documents and designates them as CONFIDENTIAL - SUBJECT TO PROTECTIVE                       Formatted: Font: Times New Roman
ORDER must be admitted to the Bar of at least one state but need not be admitted to practice in the Northern District    Formatted: Font: Times New Roman
of Illinois unless the lawyer is appearing generally in the case on behalf of a party. By designating documents
confidential pursuant to this Order, counsel submits to the jurisdiction and sanctions of this Court on the subject
matter of the designation.                                                                                               Formatted: Font: Times New Roman

4                                                                                                                        Formatted: Font: Times New Roman
  The parties or movant seeking the order shall select one alternative for handling deposition testimony and delete by
redlining the alternative provision that is not chosen.                                                                  Formatted: Font: Times New Roman, Strikethrough
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           Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 20 of 29 PageID #:275
                                                                                 EXHIBIT B




of Designation waives any designation of deposition testimony as Confidential Information that

was made on the record of the deposition, unless otherwise ordered by the Court.

      5.       Protection of Confidential Material.

               (a)    General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in subparagraph

(b) for any purpose whatsoever other than in this litigation, including any appeal thereof. In a     Formatted: Strikethrough


putative class action, Confidential Information may be disclosed only to the named plaintiff(s)

and not to any other member of the putative class unless and until a class including the putative

member has been certified.

               (b)    Limited Third-Party Disclosures. The parties and counsel for the parties

shall not disclose or permit the disclosure of any Confidential Information to any third person or

entity except as set forth in subparagraphs (1)-(9). Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information:

               (1)    Counsel. Counsel for the parties and employees of counsel who have
                      responsibility for the action;

               (2)    Parties. Individual parties and employees of a party but only to the extent
                      counsel determines in good faith that the employee’s assistance is
                      reasonably necessary to the conduct of the litigation
                      in which the information is disclosed;

               (3)    The Court and its personnel;

               (4)    Court Reporters and Recorders. Court reporters and recorders engaged
                      for depositions;

               (5)    Contractors. Those persons specifically engaged for the limited purpose
                      of making copies of documents or organizing or processing documents,
                      including outside vendors hired to process electronically stored
                      documents;

               (6)    Consultants and Experts. Consultants, investigators, or experts
                      employed by the parties or counsel for the parties to assist in the
                      preparation and trial of this action but only after such persons have
                      completed the certification contained in Attachment A, Acknowledgment
                                                                                           4
           Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 21 of 29 PageID #:276
                                                                                 EXHIBIT B




                       of Understanding and Agreement to Be Bound;

                (7)    Witnesses at depositions. During their depositions, witnesses in this
                       action to whom disclosure is reasonably necessary. Witnesses shall not
                       retain a copy of documents containing Confidential Information, except
                       witnesses may receive a copy of all exhibits marked at their depositions in
                       connection with review of the transcripts. Pages of transcribed deposition
                       testimony or exhibits to depositions that are designated as Confidential
                       Information pursuant to the process set out in this Order must be separately
                       bound by the court reporter and may not be disclosed to anyone except as
                       permitted under this Order.

                (8)    Author or recipient. The author or recipient of the document (not
                       including a person who received the document in the course of litigation);
                       and

                (9)    Others by Consent. Other persons only by written consent of the
                       producing party or upon order of the Court and on such conditions as
                       may be agreed or ordered.

      (c)       Control of Documents. Counsel for the parties shall make reasonable efforts to

prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel shall

maintain the originals of the forms signed by persons acknowledging their obligations under this

Order for a period of three years after the termination of the case.

      6.        Inadvertent Failure to Designate.          An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any protection for

deposition testimony. If a party designates a document as Confidential Information after it was

initially produced, the receiving party, on notification of the designation, must make a

reasonable effort to assure that the document is treated in accordance with the provisions of this

Order.     No party shall be found to have violated this Order for failing to maintain the

confidentiality of material during a time when that material has not been designated Confidential

Information, even where the failure to so designate was inadvertent and where the material is

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           Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 22 of 29 PageID #:277
                                                                                 EXHIBIT B




subsequently designated Confidential Information.

      7.       Filing of Confidential Information. This Order does not, by itself, authorize

the filing of any document under seal. Any party wishing to file a document designated as

Confidential Information in connection with a motion, brief or other submission to the Court

must comply with LR 26.2.

      8.       No Greater Protection of Specific Documents. Except on privilege grounds

not addressed by this Order, no party may withhold information from discovery on the ground

that it requires protection greater than that afforded by this Order unless the party moves for an

order providing such special protection.

      9.       Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to challenge by

any party. The following procedure shall apply to any such challenge.

               (a)     Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis

for its belief that the confidentiality designation was not proper and must give the designating

party an opportunity to review the designated material, to reconsider the designation, and, if no

change in designation is offered, to explain the basis for the designation. The designating party

must respond to the challenge within five (5) business days.

               (b)     Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

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         Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 23 of 29 PageID #:278
                                                                               EXHIBIT B




designating party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information under the terms of this Order.

      10.      Action by the Court.         Applications to the Court for an order relating to

materials or documents designated Confidential Information shall be by motion. Nothing in this

Order or any action or agreement of a party under this Order limits the Court’s power to make

orders concerning the disclosure of documents produced in discovery or at trial.

      11.      Use of Confidential Documents or Information at Trial. Nothing in this

Order shall be construed to affect the use of any document, material, or information at any trial

or hearing. A party that intends to present or that anticipates that another party may present

Confidential Information at a hearing or trial shall bring that issue to the Court’s and parties’

attention by motion or in a pretrial memorandum without disclosing the Confidential

Information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

      12.      Confidential Information Subpoenaed or Ordered Produced in Other
Litigation.

               (a)     If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,

immediately and in no event more than three court days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.

               (b)     The receiving party also must immediately inform in writing the party

who caused the subpoena or order to issue in the other litigation that some or all of the material

covered by the subpoena or order is the subject of this Order. In addition, the receiving party

must deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.
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           Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 24 of 29 PageID #:279
                                                                                 EXHIBIT B




                (c)    The purpose of imposing these duties is to alert the interested persons to

the existence of this Order and to afford the designating party in this case an opportunity to try

to protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its

Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this action to disobey a lawful directive from another court. The

obligations set forth in this paragraph remain in effect while the party has in its possession,

custody or control Confidential Information by the other party to this case.

          13.   Challenges by Members of the Public to Sealing Orders.               A party or

interested member of the public has a right to challenge the sealing of particular documents

that have been filed under seal, and the party asserting confidentiality will have the burden of

demonstrating the propriety of filing under seal.

      14.       Obligations on Conclusion of Litigation.

                (a)    Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further

appeal.

                (b)    Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information

and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” under this

Order, including copies as defined in ¶ 3(a), shall be returned to the producing party unless: (1)

the document has been offered into evidence or filed without restriction as to disclosure; (2) the

parties agree to destruction to the extent practicable in lieu of return; or (3) as to documents

bearing the notations, summations, or other mental impressions of the receiving party, that party

elects to destroy the documents and certifies to the producing party that it has done so.

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           Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 25 of 29 PageID #:280
                                                                                 EXHIBIT B




               (c)     Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

attorney work product, including an index that refers or relates to designated Confidential

Information so long as that work product does not duplicate verbatim substantial portions of

Confidential Information, and (2) one complete set of all documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to be

protected under this Order. An attorney may use his or her work product in subsequent litigation,

provided that its use does not disclose or use Confidential Information.

               (d)     Deletion of Documents filed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of the

Court.

         15.   Order Subject to Modification. This Order shall be subject to

modification by the Court on its own initiative or on motion of a party or any other person

with standing concerning the subject matter.

         16.   No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any

document or material designated Confidential Information by counsel or the parties is

entitled to protection under Rule 26(c) of the Federal Rules of Civil Procedure or

otherwise until such time as the Court may rule on a specific document or issue.

         17.   Persons Bound. This Order shall take effect when entered and shall be

binding upon all counsel of record and their law firms, the parties, and persons made

subject to this Order by its terms.




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             Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 26 of 29 PageID #:281
                                                                                   EXHIBIT B




So Ordered.



    Dated:

                                             U.S. District Judge
                                             U.S. Magistrate Judge



    WE SO MOVE                                       WE SO MOVE
    and agree to abide by the                        and agree to abide by the
    terms of this Order                              terms of this Order


Respectfully submitted,

          /s Cass T. Casper
          /s Gianna Scatchell                        /s Michael D. Bersani
    _____________________________________         _____________________________________
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                                                  PARK, ILLINOIS

                                                  /s K. Austin Zimmer
                                                  /s Cynthia Granfield
                                                  /s Timothy Woerner
                                                  K. Austin Zimmer
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    Appearance pending.                                                                    Formatted: Font: Times New Roman
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         Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 27 of 29 PageID #:282
                                                                               EXHIBIT B




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Dated:                              Dated:




                                                                  11
          Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 28 of 29 PageID #:283
                                                                                EXHIBIT B




                                        ATTACHMENT A

                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


John Scatchell, Sr.,                              )
                                                  )
             Plaintiff,                           )               Case No.: 2018-CV-03989
                                                  )
v.                                                )               Judge Charles R. Norgle, Sr.
                                                  )
Village of Melrose Park, an Illinois Municipal    )               Magistrate Judge Michael T.
Corporation; Ronald M. Serpico; Sam C. Pitassi;   )               Mason
Michael Castellan; and Steven Rogowski,           )
                                                  )
             Defendants.                          )
                                                  )               Jury Trial Demanded
_________________________________________________________________________

                                   ACKNOWLEDGMENT
                                         AND
                                 AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Confidentiality Order dated

_                                                      in the above-captioned action and attached

hereto, understands the terms thereof, and agrees to be bound by its terms. The undersigned

submits to the jurisdiction of the United States District Court for the Northern District of Illinois

in matters relating to the Confidentiality Order and understands that the terms of the Confidentiality

Order obligate him/her to use materials designated as Confidential Information in accordance with

the Order solely for the purposes of the above-captioned action, and not to disclose any such

Confidential Information to any other person, firm or concern.
         Case: 1:18-cv-03989 Document #: 25 Filed: 02/12/19 Page 29 of 29 PageID #:284
                                                                               EXHIBIT B




        The undersigned acknowledges that violation of the Confidentiality Order may result in

        penalties for contempt of court.



Name:

Job Title:

Employer:

Business Address:




Date:

                                       Signature
